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                              United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

  CRAIG CUNNINGHAM                                   §
                                                     § Civil Action No. 4:18-CV-00682
  v.                                                 § (Judge Mazzant/Judge Nowak)
                                                     §
  NIAGARA RESTITUTION SERVICES,                      §
  INC., ET AL.                                       §

                                      ORDER OF DISMISSAL

         Came on to be considered this day Plaintiff’s “Motion to Dismiss with Prejudice”

 (Dkt. #55) and the Parties’ Joint Stipulation of Dismissal with Prejudice (Dkt. #56), wherein the

 Parties advise that “pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff and Defendants voluntarily

 dismiss, with prejudice, their respective claims” (Dkt. #56). The Court, having considered the

 Motion to Dismiss and Joint Stipulation of Dismissal, determines that each should be GRANTED.

 It is therefore,

         ORDERED, ADJUDGED AND DECREED that Plaintiff’s Motion to Dismiss with

 Prejudice (Dkt. #55) and the Parties’ Joint Stipulation of Dismissal with Prejudice (Dkt. #56) are

 each granted in full. The Court finds that all matters in controversy between the Parties have been

 fully and finally resolved and settled between Plaintiff and Defendants, and that the above-entitled

 and numbered action should be DISMISSED WITH PREJUDICE to refiling in any form

 pursuant to Fed. R. Civ. P. 41(a). It is further,

         ORDERED, ADJUDGED, AND DECREED that each Party shall bear his or its own

 costs and attorney’s fees.
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           All relief not previously granted is hereby DENIED.

           The Clerk is directed to CLOSE this civil action.

           IT IS SO ORDERED.
           SIGNED this 25th day of July, 2019.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




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